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IN THE CIRCUIT COURT OF FRANKLlN COUNTY, l\/llSSOURI\:Ec
AT UNION, MISSOURI

CHRISTINE CADY
Plaintiff

v. Case No.

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DVA RENAL HEALTHCARE, INC.
d/b/a
WASHINGTON SQUARE DIALYSIS
SERVE AT: CSC - Lawyers Incorporating)
Service Cornpany )
221 Boliyar Street )
Jefferson City, MO 65101 )
)
Defendant )
PETITION FOR DAMAGES

COMES NOW Plaintiff Christine Cady, by and through counsel, and for her cause of
action against Defendant DVA Renal Healthcare, Inc. d/b/a Washington Square Dialysis, states:

1. Plaintiff Christine Cady is an individual resident of Gasconade County, Missouri,
over the age of 18 years.

2. Defendant DVA Renal Healthcare, Inc. (hereinafter “Defendant DVA”) is a
foreign corporation authorized to do and doing business in the State of Missouri.

3. Defendant DVA is, and Was at all times material hereto, the owner and/or
operator of a dialysis facility know as “Waslu`ngton Square Dialysis” at 1112 Washington Sq.,
Washington, Franklin County, Missouri, specializing in providing in-center hemodialysis to the
public, by and through its agents, employees and servants

4. The cause of action hereinafter set out arose at Franklin County, Missouri, and

venue is proper in this court pursuant to § 508.010(4) R.S.Mo.

 

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5. Plaintiff Christine Cady is the surviving spouse of John Cady, deceased.

6. Plaintiff Christine Cady is entitled to bring an action for the wrongful death of
John Cady, deceased, pursuant to § 537.080 R.S.Mo.

7. The negligent acts and omissions alleged herein were committed by Defendant
DVA, and the employees, agents and/or servants of Defendant DVA while acting within the
scope and course of their employment for Defendant DVA.

8. At all times material hereto, John Cady suffered from chronic kidney disease, end
stage renal disease, and secondary hyperparathyroidism.

9. As a part of his therapeutic regimen, John Cady was required to undergo
hemodialysis treatments at Washington Square Dialysis facility. All hemodialysis treatments
undertaken by Mr. Cady were under the direction, supervision and control of employees, agents
and servants, both apparent and actual, of Defendant DVA.

10. John Cady was a patient at Defendant DVA’s Washington Square Dialysis facility
and received hemodialysis treatment from the agents, servants and employees of Defendant
DVA on August 9, 2010, August ll, 2010 and August 14, 2010,

11. At all times material hereto, John Cady was 70 years old and in a weakened
condition.

12. At all times material hereto, John Cady was wearing a fall risk identification band
because said weakened condition limited his ability to ambulate safely and he had a history of
recent falls.

13. On, before and after August 9, 2010, the agents, servants and employees of

Defendant DVA never assessed John Cady to recognize, manage and institute an appropriate

 

 

 

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plan of care to address the fact that Mr. Cady was in a weakened condition and at an increased
risk for falls, especially after receiving hemodialysis treatment

14. On August 9, 2010, John Cady underwent hemodialysis treatment at Defendant
DVA’s Washington Square Dialysis facility. After said treatrnent, the agents, servants and/or
employees of Defendant DVA observed that John Cady could not ambulate safely following
hemodialysis

15. After said hemodialysis treatment on August 9, 2010, John Cady required a
walker and assistance to ambulate safely through and out of Defendant DVA’s Washington
Square Dialysis clinic and into the vehicle transporting him home.

16. On August ll, 2010, John Cady underwent a second hemodialysis treatment at
Defendant DVA’s Washington Square Dialysis facility. After said treatment, the.agents, servants
and/or employees of Defendant DVA observed that John Cady could not ambulate safely
following hemodialysis

17. After said hemodialysis treatment on August 11, 2010, l\/lr. Cady required a
wheelchair and assistance to ambulate safely through and out of Defendant DVA’s Washington
Square Dialysis clinic and into the vehicle transporting him home.

18. On August 14, 2010, John Cady underwent a third hemodialysis treatment at
Defendant DVA’s Washington Square Dialysis facility. During this hemodialysis treatment, Mr.
Cady suffered a hypotensive episode during which time his complexion changed dramatically
and his speech became incoherent

19. On August 14, 2010, the agents, servants and/or employees of Defendant DVA
observed and knew or should have known that John Cady was in a weakened and confused state

and could not ambulate safely following hemodialysisl

 

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20. On August l4, 2010, after receiving hemodialysis and while in a weakened and
confused state, John Cady was escorted to a scale by employees of Defendant DVA.

21. After being weighed by and with the assistance of employees of Defendant DVA,
John Cady was then left unattended and without assistance in the treatment area, at which time
he was allowed to ambulate without the assistance he needed out of the treatment area and clinic
to the vehicle transporting him home.

22. Because of John Cady’s weakened and confused state, because he was left
unattended, and because he needed but did not receive assistance ambulating through the clinic
and out to the vehicle transporting him home, Mr. Cady fell and suffered lacerations to his face, a
subdural hematoma in his brain and seizures

23. The injuries sustained by John Cady on August 14, 2010 at Washington Square
Dialysis resulted in him developing bilateral hemorrhagic brain contusions and a subarachnoid
hemorrhage

24. The injuries sustained by John Cady caused or contributed to cause his death on
August 18, 2010.

25. The agents, servants and employees of Defendant DVA had a duty to possess and
use that degree of skill and learning ordinarily used under the same or similar circumstances by
members of their profession in the care and treatment of John Cady.

26. During the course of their care and treatment of John Cady, the agents, servants,
and employees of Defendant DVA breached their duty and were guilty of the following acts of
negligence and carelessness by failing to measure up to the requisite standard of due care, skill
and practice ordinarily exercised by members of their profession under the same or similar

circumstances, to~wit:

 

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a. by failing to timely, consistently and properly assess and document John
Cady’s physical condition and his increased risk for falls;

b. by failing to adequately supervise or monitor John Cady to prevent falls;

c. by failing to ensure that John Cady received proper care and treatment to
prevent falls;

d. by failing to adequately train and instruct staff in the procedures for
identifying and recognizing that John Cady was a fall risk and

specifically in recognizing and reacting to the fall risk identification

band worn by John Cady;

e. by failing to prepare, institute and follow an appropriate short term care
plan for John Cady;

f. by leaving John Cady unattended and without assistance in the treatment

area while he was in a weakened and confused state and in need of
assistance;

g. by allowing John Cady to ambulate unassisted out of the treatment area
and through the clinic and to the vehicle transporting him home while he
was in a weakened and confused state and in need of assistance;

h. by failing to assist John Cady out of the treatment area, through the clinic
and to the vehicle transporting him home while he was in a weakened and
confused state and in need of assistance

27. The negligence and carelessness of Defendant DVA d/b/a Washington Square
Dialysis directly and proximately caused, or directly and proximately contributed to cause, John

Cady to suffer severe, permanent and progressive injuries including, but not limited to, bilateral

 

 

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hemorrhagic brain contusions, a subarachnoid hemorrhage, and mental and physical pain,
anguish and distress As a further direct and proximate cause cf the negligence and carelessness
of Defendant DVA, John Cady required medical treatment and incurred medical expenses As a
further direct and proximate cause of the negligence and carelessness of Defendant DVA, John
Cady died on August 18, 20ll. l\/Ioreover, and as a further direct and proximate cause of the
negligence and carelessness of Defendant DVA, Plaintiff Christine Cady has sustained losses
because of John Cady’s death in the nature of loss of services, companionship, comfort,
instruction, guidance, counsel, training and support

WHEREFORE, Plaintiff prays for judgment against Defendant DVA d/b/a Washington
Square Dialysis for such sums as a jury determines to be fair and reasonable, for compensatory
damages, together with her costs herein incurred and expended, and for such other relief as the

Court deems just and proper.

CHRISTINE CADY, PLAINTIFF

  
 
 
 
  
  

KEMPTON & SSEL

 

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IN THE CIRCUIT COURT OF FRANKL[N COUNTY, MISSOU §§
AT UNION_, MISSOURI

CHRISTINE CADY

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Plaintiff

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DVA RENAL HEALTHCARE, l'NC.
d/b/a

WASHINGTON SQUARE DIALYSIS

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SERVE AT: CSC - Lawyers lncorporating

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Service Company )
221 Bolivar Street )
Jet?t`erson City, MO 65101, )
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Defendant )
AFFII)AV.IT OF COUNSEL

 

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) ss.
COUNTY OP PETTIS )

Comes now Spencer W. Eisenmenger, undersigned counsel for Plaintiff

herein and being first duly sworn upon his oath states:

l. l am an attorney practicing in Sedalia, Missouri.
2. 1 have been retained by Plainti'ff herein.
3.

l have obtained the written opinions of legally qualified healthcare
providers which together state that Defendant DVA REN,AL HEALTHCARE, I.NC.
failed to use such care as a reasonable prudent and careful healthcare provider
would have under similar circumstances in its treatment of John Cady and that

said failure directly caused or contributed to cause the damages claimed herein.

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4. The healthcare providers who furnished the opinions mentioned
above are l) Deborah Blomberg, IU\I, CNN, a registered nurse licensed in
Missouri and certified in nephrology, who is actively engaged in the practice of
nursing and whose address is 929 Jones Lane, .letferson City, MO 65109_, and 2)
lvla.ry Case, MD, the Chief l.\/ledical Examiner for .Franklin Coun.ty_1 l\/Iissouri, and
whose address is 1402 Sou.th Grand Blvd., Doisy Hall, RSl'/, St. Louis, l\/lissouri
63104.

5. This Affidavit is made pursuant to Section 538,225 RSMo.

  

By:

 

Sedalia l\/.[O 65302»0815
660-327-0314

660-827-1200 (FAX)
snencer@kemntonrussell.corn
ATTORNEY FOR PLAINTIFF

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Subscribed and sworn to before me this / day of December, 2011.

WMMM

Notary Public

My Commission Expires;

 

 

DAWN E. HACK,WO'RTH
Notary Put)llo ~ Notary Sea\
STATE CJF I\A|BSOURl
Peilis Gounty
Comm§sstun #09530505
My Commlssion Expires 212/2013

 

 

 

 

 

 

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Defendant/Responden:t ' C°‘m Addl`essi _ ' " B._,;`;,___ __ D_C . § ,' `
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'I`he St&\te of Mis$n\ll'i tot DVA.. RENAL HEALTHCARE INC
Alias: DBA WASH]`NGTON SQUARE DIALYSIS
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JE.FFERSO_N CITY,MO 6510.1
CO;;'RT SEAL OF _ . 1 You are summoned to appear before this court and to file your pleading to the petition, a copy oi'

which’ is attached, and to serve n copy of your pleading upon the attorney for PlnintiiT/Pctitioner at thc . _ 4,
above address all within 30 days after receiving this summona, exclusive of the day of aervice. If you fail to

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Sherifl"s or Server’ 11 Return 1
Note to serving citicer: Summons should be returned to the court within thirty days after the date of issue ~ _
l certify that l have served the above summons by: (check one) ‘ '

l:] delivering a copy of thc summons and a copy of the petition to the Defendant/Respondcnt. ' ` '

E] leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondcnt with

a person of the Defendanc’ s/Rcs`pondcnt‘ s family over ,timage of 15 years
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A copy of the summons and a copy of the petition must be served on each Defendant/Respondcnt For rnctliods of service on all classes ot'
suits see Suprcrne Court Rule 54.

 

 

 

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